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ANTHONY J. BRASS (CASBN. 173302)
Attorney at Law

3223 Webster Street

San Francisco, California 94123
Telephone: (415) 922-5462

Facsimile: (415) 346-8987
tony@brasslawoffice.com

Attorney for Defendant, DEREK GALANIS

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA, :
15 CRIM 643 PKC

)
)
Plaintiff, )

) DECLARATION OF MEGHANN McENROE IN
vs. ) SUPPORT OF WAIVER OF CONFLICT
)

DEREK MEYER GALANIS, )
)

Defendant. )

)

)

 

 

 

DECLARATION OF MEGHANN McENROE

I, MEGHANN McENROE, declare as follows:

1) Iam over eighteen years of age, and a citizen of the United States of America.

2) On June 26, 2014, I testified in the jury trial in the matter of United States v. Tagliaferi,
in United States District Court in the Southern District of New York.

3) In that matter of U.S. v. Tagliaferi, I was not a defendant, a target, or a party.

4) My attorney in that matter was Anthony John Brass of 3223 Webster Street, San

Francisco, California 94123.

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Declaration of MEGHANN McEnroe

 
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Mr. Brass had represented me for several months during to trial preparation process prior

to June 26, 2014.

After my testimony in the jury trial, my representation by Mr. Brass was concluded.

On September 29, 2015, Mr. Brass advised me that he had been contacted by Derek
Galanis seeking representation in a new case, charged in United States District Court in

the Southern District of New York.

Mr. Brass advised me that the case may be related factually to the matter of United States
v. Tagliaferi, in which I was a witness, and that a possible conflict existed.

Mr. Brass has informed me that his representation of Derek Galanis in no way diminishes
the duty of loyalty and confidentiality that he owes me, and that those obligations remain

in place.

10) Mr. Brass informed me that if I was not comfortable with his representing Derek Galanis,

the brother of my former employer, Jason Galanis, that he would not represent him.

11) Mr. Brass informed me that in the event that I was subpoenaed to testify in the matter

currently pending against Derek Galanis, as well as Jason Galanis, my former employer,

the Court could appoint new counsel for me free of charge.

12) Mr. Brass provided me with, and I have reviewed, the transcript of the proceedings in the

above entitled action that took place on November 9, 2015, specifically pages 28 through

43, which pertain to this issue.

13) I have informed Mr. Brass that I understand the potential conflict in this matter, that I

understand that I continue to be protected by the duty of loyalty and confidentiality owed

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Declaration of MEGHANN McEnroe

 
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to me by Mr. Brass, and that I hereby waive any conflict with Mr. Brass representing
Derek Galanis.

1 declare that the foregoing is true and correct under penalty of perjury this | Bk day of
November, 2015. Signed in (0S JyrpeloS —_, California

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WO) We
MEGHANN McEnrof

U.S. v. Derek Galanis 15 CRIM 643 PKC
Declaration of MEGHANN McEnroe

 
